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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

DAVID HULCE                                        §
                                                   §
        Plaintiff                                  §
                                                   §
V.                                                 §         CIVIL ACTION NO.____________
                                                   §
                                                   §
MAPLETREE TRANSPORTATION,                          §
INC., FOREST RIVER, INC., AND                      §
REUBEN TONEY MURR                                  §
                                                   §
        Defendants.                                §

              PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

TO THE HONORABLE COURT:

        Plaintiff David Hulce (“Plaintiff”) files this Original Complaint complaining of Defendants

Mapletree Transportation, Inc., Forest River, Inc., and Reuben Toney Murr, (“Defendants”), and for

cause of action state the following:

                                          I. PARTIES

1.      Plaintiff David Hulce is an individual residing in Brown County, Wisconsin.

2.      Defendant Mapletree Transportation, Inc. is an Indiana corporation that does business in

        Texas, but its principal place of business is in Indiana. It may be served with a summons

        through its registered agent for service Joseph Greenlee, 900 County Road 1, Elkhart,

        Indiana 46515.

3.      Defendant Forest River, Inc. is an Indiana corporation that does business in Texas, but its

        principal place of business is in Indiana. It may be served with a summons through its

        registered agent for service Corporation Service Company d/b/a CSC-Lawyers Incorporating

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        Service Company 211 E. 7th Street, Suite 620, Austin, Texas 78701-3218.

4.      Defendant Reuben Toney Murr is an individual residing in Transylvania County, North

        Carolina and may be served with summons at 3560 E. Fork Road, Brevard, North Carolina

        28712.

                                II. JURISDICTION AND VENUE

5.      This Court has jurisdiction over the lawsuit under the provisions of 28 U.S.C. Section 1332.

        The parties to this lawsuit are citizens of different states, and the matter in controversy

        exceeds the sum or value of $75,000.00, exclusive of interest and costs.

6.      Venue is proper in this Court because Defendants’ are subject to this Court's personal

        jurisdiction.

                                             III. FACTS

7.      This lawsuit is based on a motor vehicle collision that occurred on January 21, 2016

        (hereinafter referred to as “the collision”).

8.      The collision occurred on southbound I-35 about 100 feet south of US 380 (W. University

        Dr.), in Denton, Denton County, Texas.

9.      The collision occurred as Defendant Reuben Toney Murr followed Plaintiff too closely and

        failed to control his speed causing his vehicle to crash into the back of the Plaintiff’s vehicle.

10.     Upon information and belief and at all times material hereto, Defendant Reuben Toney Murr

        was acting in the course and scope of his employment with Defendants Mapletree

        Transportation, Inc. and/or Forest River, Inc.

11.     Upon information and belief, Defendant Mapletree Transportation, Inc. and/or Defendant

        Forest River, Inc. owned the vehicle that was driven by Defendant Reuben Toney Murr.


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12.     Upon information and belief, Defendant Mapletree Transportation, Inc. is a division of

        Defendant Forest River, Inc.

13.     Because of the collision, Plaintiff Hulce suffered significant and severe injuries.

14.     The collision was proximately caused by the negligence and/or negligence per se of the

        Defendants.

                                     IV. CAUSES OF ACTION

        A. Doctrine of Respondeat Superior/Vicarious Liability of Defendants

15.     At the time of the collision, Defendant Reuben Toney Murr, the driver of Defendant

        Mapletree Transportation, Inc. and/or Defendant Forest River, Inc.’s vehicle, was an

        employee of Defendant Mapletree Transportation, Inc. and/or Defendant Forest River, Inc.

        Defendant Reuben Toney Murr was acting within the course and scope of such employment

        at the time of the occurrence and at all relevant times prior thereto. As such, Defendant

        Mapletree Transportation, Inc. and/or Defendant Forest River, Inc. is legally responsible for

        its driver’s negligence and negligence per se under the doctrine of respondeat

        superior/vicarious liability.

        B. Negligence and/or Negligence Per Se

16.     At the time of the collision, Defendants were negligent and/or negligent per se in one or

        more of the following particulars:

        a.      In Defendant Reuben Toney Murr failing to keep such a lookout as a person of
                ordinary prudence would have kept under the same or similar circumstances;
        b.      In Defendant Reuben Toney Murr failing to timely apply the brakes of his vehicle
                in order to avoid the collision in question;
        c.      In Defendant Reuben Toney Murr driving a vehicle at a rate of speed which was
                greater than that which an ordinarily prudent person would have driven under the
                same or similar circumstances;
        d.      In Defendant Reuben Toney Murr failing to maintain his vehicle under control;

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        e.      In Defendant Reuben Toney Murr following too closely;
        f.      In Defendant Reuben Toney Murr failing to take proper evasive action;
        g.      In violating Texas Transportation Code Section 545.062 (following distance) and
                545.351 (maximum speed requirement); and
        h.      In operating a vehicle in violation of FMCSR Parts 390, 392 and 571.

17.     Defendants Mapletree Transportation, Inc. and/or Forest River, Inc. were negligent in hiring

        Defendant Reuben Toney Murr as a driver and negligent in allowing him to continue driving

        vehicles for them when they reasonably should have known that it was unsafe to do so. Such

        negligence, singularity or in combination with others, proximately caused the collision.

18.     Each of the foregoing acts or omissions, singularly or in combination with others, constituted

        negligence and/or negligent per se, which proximately caused the collision and Plaintiff's

        injuries and damages.

                          V. PERSONAL INJURIES AND DAMAGES

19.     As a result of Defendants’ negligent actions, Plaintiff Hulce suffered personal injuries.

        Consequently, Plaintiff Hulce seeks recovery of the following damages:

        a.      Medical Expenses: David Hulce incurred bodily injuries which were caused by the
                collision and David Hulce incurred medical expenses for treatment of such injuries.
                David Hulce believes that, in reasonable medical probability such injuries will
                require the need for future medical care.

        b.      Lost Wages: David Hulce lost wages as a result of the personal injuries sustained
                in The Collision. David Hulce reasonably believe that such injuries will diminish
                David Hulce's earning capacity in the future.

        c.      Physical Pain: David Hulce endured physical pain as a result of the personal injuries
                sustained in The Collision and reasonably anticipate such pain will continue in the
                future.

        d.      Mental Anguish: David Hulce endured mental anguish as a result of the personal
                injuries sustained in The Collision and reasonably anticipate such mental anguish
                will continue in the future.

        e.      Disfigurement: David Hulce endured disfigurement as a result of the personal

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                injuries sustained in The Collision and reasonably anticipate such will continue in
                the future.

        f.      Impairment: David Hulce endured physical impairment as a result of the personal
                injuries sustained in The Collision and reasonably anticipate such in the future.

                                           VI. AGGRAVATION

20.     In the alternative, if it be shown that the Plaintiff suffered from any pre-existing injury,

        disease and/or condition at the time of the incident made the basis of the lawsuit, then such

        injury, disease and/or condition was aggravated and/or exacerbated by the negligence of the

        Defendants.

                                          VII. U.S. LIFE TABLES

21.     Notice is hereby given to the Defendants that Plaintiff intend to use the U. S. Life Tables as

        published by the Department of Health and Human Services - National Vital Statics Report

        in the trial of this matter. Plaintiff requests that this Honorable Court take judicial notice

        of those rules, regulations, and statutes of the United States and the State of Texas.

                                          VIII. JURY DEMAND

22.     Plaintiff requests the right of trial by jury.

                                          IX. RELIEF SOUGHT

23.     All conditions precedent to Plaintiff's right to recover the relief sought herein have occurred

        or have been performed.

24.     Plaintiff requests that Defendants be cited to appear and answer and that this case be tried

        after which Plaintiff recover:

        a.      Judgment against Defendants for the damages set forth herein;
        b.      Pre-judgment interest at the maximum amount allowed by law;
        c.      Post-judgment interest at the maximum rate allowed by law;
        d.      Costs of suit; and

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        e.      Such other and further relief to which Plaintiff may be justly entitled.

                                                      Respectfully submitted,

                                                      REYES    *   BROWNE * REILLEY


                                                       /s/ Spencer P. Browne
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